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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

E.T., by and through her parents and next    )
friends; J.R., by and through her parents and)
next friends; H.M., by and through her parents
                                             )
and next friends; E.S., by and through her   )
parents and next friends; M.P., by and through
                                             )
her parents and next friends; S.P., by and   )
through her parents and next friends; and A.M.,
                                             )        Civil Action No. 1:21-CV-00717-LY
by and through her parents and next friends. )
                                             )
        Plaintiffs,                          )
                                             )
        v.                                   )
                                             )
MIKE MORATH, in his official capacity as the )
COMMISSIONER of the TEXAS                    )
EDUCATION AGENCY; the TEXAS                  )
EDUCATION AGENCY; and ATTORNEY               )
GENERAL KENNETH PAXTON, in his               )
official capacity as ATTORNEY GENERAL )
OF TEXAS,                                    )
       Defendants.


            PLAINTIFFS’ NOTICE OF STATUTORY AND REGULATORY
            AUTHORITY RELIED UPON FOR SECTION 504/ADA CLAIMS

       Pursuant to the Court’s instruction at the October 6, 2021 trial, Plaintiffs submit this list

of statutory and regulatory authority relied upon for their claims brought under the Americans

with Disabilities Act of 1990 (“ADA”) and Section 504 of the Rehabilitation Act of 1973

(“Section 504”).

   -   Title II of the ADA – Statutory and Regulatory Authority

           o Title II of the Americans with Disabilities Act of 1990, 42 U.S.C. §§ 12131-

               12134 (1990) (see § 12132 providing for the prohibition on discrimination against
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             individuals with a disability and § 12134 authorizing the Attorney General to

             promulgate regulations that implement Title II)

         o 28 C.F.R. § 35.130(b)(1)(i)-(ii), (vii) (2016)

         o 28 C.F.R. § 35.130(b)(7)(i) (2016)

         o 28 C.F.R. § 35.150 (2012)


  -   Section 504 – Statutory and Regulatory Authority

         o Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794 (2016) (see §

             794(a) authorizing federal agencies, including the Department of Education, to

             promulgate regulations to carry out Section 504)

         o 34 C.F.R. § 104.4(b)(1)(i) (2000)



Dated: October 7, 2021




                                            Respectfully submitted,




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                               CERTIFICAE OF SERVICE

        The undersigned certifies that counsel of record who are deemed to have consented to
electronic service are being served with a copy of this document via the Court’s CM/ECF system
on October 7, 2021.
                                                     /s/Thomas Melsheimer
                                                     Thomas Melsheimer




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